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 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10
      In re:                                     No. 2:22-cv-02004-JAK
11
      ZETTA JET USA, INC.,                       ORDER RE APPLICATION FOR
12                                               LEAVE TO FILE PROPOSED
                 Debtor.                         REDACTIONS UNDER SEAL
13                                               (DKT. 92)
14
      AND RELATED CLAIMS
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     Case 2:22-cv-02004-JAK Document 96 Filed 04/15/24 Page 2 of 2 Page ID #:34422




 1         Based on a review of the Application for Leave to File Proposed Redactions
 2   Under Seal (the “Application” (Dkt. 92)), sufficient good cause has been shown for the
 3   requested relief. Therefore, the relief requested through the Application is GRANTED,
 4   as follows:
 5         The identified documents shall be filed under seal.
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 8   IT IS SO ORDERED.
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10   Dated: April 15, 2024              ________________________
11                                      John A. Kronstadt
12                                      United States District Judge
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